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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

FIDELITY AND DEPOSIT COMPANY OF                 )
MARYLAND,                                       )
                                                )
                      Plaintiff,                )
                                                )
v.                                              ) CIVIL ACTION NO. 1:19-00241-JB-M
                                                )
ROD COOKE CONSTRUCTION, INC., et al.,           )
                                                )
                      Defendants.               )

                                           JUDGMENT

       It is ORDERED, ADJUDGED and DECREED that a FINAL JUDGMENT be, and the same is,

entered in favor of Plaintiff, Fidelity and Deposit Company of Maryland, and jointly and severally

against Defendants Rod Cooke Construction, Inc., Rod Cooke Construction of Mississippi, Inc.,

Expert Estimating & Construction Management Services, LLC, FED I, LLC, and Rodney W. Cooke

in the amount of ONE MILLION, THREE HUNDRED TEN THOUSAND, FORTY SIX DOLLARS and

SEVENTY THREE CENTS ($1,310,046.73), plus prejudgment and post-judgment interest at the

maximum rates permitted by law.


       DONE and ORDERED this 24th day of June, 2022.


                                                    /s/ JEFFREY U. BEAVERSTOCK
                                                    CHIEF UNITED STATES DISTRICT JUDGE
